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                         UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF ARIZONA

 Hualapai Indian Tribe of the Hualapai Indian        Case No. 3:24-cv-08154-DJH
 Reservation, Arizona,
                                                     [PROPOSED] ORDER
            Plaintiff,                               GRANTING STIPULATED
                                                     MOTION FOR STAY OF
 vs.                                                 FEDERAL DEFENDANTS’
                                                     DEADLINE TO RESPOND TO
 Debra Haaland, in her official capacity as the      COMPLAINT
 United States Secretary of the Interior, et al.,

            Federal Defendants

 and

 Arizona Lithium, Ltd.,

            Intervenor Defendant.


         Pending before the Court is Federal Defendants’ Stipulated Motion for Stay of
Federal Defendants’ Deadline to Respond to the Complaint. ECF No. 76. Having
considered the motion, the Court finds that good cause exists for the requested stay and
consequently grants the motion.
         IT IS THEREFORE ORDERED that the Federal Defendants’ deadline to respond
to the Complaint is stayed and the parties are required to meet and confer regarding an
appropriate response deadline as part of their case management discussions following the
Court’s order on the pending motion for preliminary injunction.
         ORDERED.

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